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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


IN RE APPLICATION OF THE NEW                )
YORK TIMES COMPANY                          )      Civil No.:     21-MC-0091 (JEB)
                                            )


                         UNOPPOSED MOTION TO CONTINUE

       The United States of America, by and through undersigned counsel, hereby requests a 14-

day continuance to respond to this Court’s Order requesting a response from the government as to

its proposed redactions for docket entries 2-17. As the Court may be aware, the United States

Senate has recently confirmed a new U.S. Attorney for the District of Columbia and a new

Assistant Attorney General for the National Security Division. The requested continuance will

permit the government to brief these new officials on this matter and for them to review the

documents at issue, and provide substantive input, as necessary, on the government’s response.

       Applicant’s counsel has stated that Applicant will not oppose the requested continuance.

       Wherefore the government requests that the deadline to respond to the Court’s Order be

extended until November 16, 2021.

                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE
        I hereby certify that this motion was served on counsel for the Applicant through
notification under the court’s ECF system.
                                             ___/s/ Tejpal S. Chawla_________________
                                             Tejpal S. Chawla




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